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                         /s/ John M. Neary                     August 7, 2018
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                               Attachment to Personal Statement

Case Name:

R.M.S. Titanic, Inc. v. The Wrecked and Abandoned Vessel..etc.


Party Represented by Applicant:

The Official Committee of Equity Security Holders of Premier Exhibitions Inc.


Name(s) of federal court(s) in which I have been admitted:

Central, Southern, Eastern, and Northern Districts of California
Southern and Eastern Districts of New York
District of Arizona
Second Circuit Court of Appeals
Ninth Circuit Court of Appeals
US Supreme Court
